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TAMI BICKFORD, NEXT FRIEND oF i,.;,;,jjj- gist-§§ rais§_@~,~_
DAVID MICHAEL SPOON, " "'*H‘»"!»"i~i!$
Plaintiffs,
V. NO. 031-2953 BP

LAUDERDALE COUNTY, TENNESSEE
et al.,

Defendants.

 

ORDER DENYING DEFENDANT TODD WHITE’S MOTION TO DISMISS
AND DEFENDANT LAUDERDALE COUNTY’S MOTION FOR SUMMARY
.TUDGMENT AND DISMISSING DEFENDANT JOHN DOES l-l 0 AND
PLAINTIFF’S EQUAL PROTECTION CLAll\/I

 

This lawsuit was brought under 42 U.S.C. § 1983 by the Plaintiff, Tami Biekford, as a next
friend of David Michael Spoon, on December 18, 2003 alleging that the Defendants1 violated
Spoon’s rights under the Fourth and Fourteenth Amendments of the United States Constitution.

Pending before the Court are a motion to dismiss by Defendant, Todd White, under Rule l2(b)(6)

 

' Plaintiff initially sued Lauderdale County, Tennessee, Lauderdale County School
System, Jimmy Douglas, Todd White, Phillip l\/lorris, Lauderdale County Sherift`s Department,
Lauderdale County Juvenile Court, City ofRipley Police Department, and John Does l-lO.
Following settlement negotiations, the only Defendants remaining in this ease are Lauderdale
County, Todd White, Phillip Morris, and John Does l-l 0. However, because the Plainti ff has
not made any effort to amend the complaint to identify John Does l-l 0 and has not alleged a
cause of action with respect to any unknown Defendants, the Court dismisses John Does 1-10
without prejudice as service of process, and, by extension, the institution of a lawsuit, cannot be
effected on fictitious persons Furthermore, the Plaintiff is advised that bringing a complaint
against John Doe defendants does not toll the statute of limitations as to those parties §_Qe @
v. Treadway, 75 F.3d 230, 240 (6th Cir.), M denied, 519 U.S. 821, ll7 S.Ct. 78, l36 L.Ed.2d
37 (1996); Bufalino v. Michi,qan Bell Tel. Co., 404 F.2d 1023, 1028 (6th Cir. 1968), §§Lt. denied,
394 U.S. 987, 89 S.Ct. 1468, 22 L,Ed.2d 763 (1969).

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of the F ederal Rules of Civil Procedure and a motion for summary judgment under Rule 56, F ederal
Rules of Civil Procedure, by Defendant, Lauderdale County. As Bickford has responded to both
motions, they are now appropriate for disposition

FACTS

 

Bickford’s son, David Spoon, is a biracial child who has special social and educational needs
(Compl. at l.) ln 2002, Spoon began living with his grandmother, Esta Rucker, in Ripley,
Lauderdale County, and attended a school in the county. (Compl. at 2.) On December 18, 2002,
according to the Plaintiff, two teachers mocked Spoon ’s biracial heritage which provoked an outburst
by the child toward Carole White, a school teacher. (Compl. at 2.) As a result of the incident,
former Defendant, Jimmy Do uglas, who was the principal of the school, transported Spoon from the
school to the home of his aunt, Kathryn Glass. (Compl. at 2; Def. Lauderdale County’s Statement
Undisputed Material F acts (“County’s Statement”) at l.)

Several hours after Spoon was taken to his aunt’s house, Defendants Phillip l\/lorris, a
Lauderdale County Juvenile Court investigator, and Todd White, a civilian and the husband of
Carole White, went to the residence, presented themselves as law enforcement officers, and placed
Spoon in an “official” vehicle. (Compl. at 3; County’s Statement at 2-3.) According to Bickford,
White and Mom`s verbally and physically assaulted the child saying, “You little black m ----- f ----- ,
the woman you were going after was my wife” and “l’m going to kill your little black a--, boy” and
“You can tell your brother, Tyrone, too, ‘l’ll hunt you down and l<ill you.”’ (Compl. at 3.)
Additionally, Morris allegedly said, “Look here, boy, we don’t play here in Ripley. lf you don’t
believe me, just ask ‘SiXty-Nine.’ They sent you here from Arkansas because you were f ------ up and

you’re f ------ up here and I’m going to beat your black a--.” (Compl. at 4.) Based on this conduct,

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Plaintiff initiated the present suit to recover damages against the Defendants for alleged violations
of his rights to be free from unreasonable seizure and excessive force under the Fourth Amendment
and to equal protection under the Fourteenth Amendment.
STANDARD OF REVIEW

Rule l2(b)(6) permits the dismissal of a lawsuit for failure to state a claim upon which relief
could be granted Fed. R. Civ. P. l2(b)(6). The Rule requires the court to "construe the complaint
in the light most favorable to the plaintiff, accept all of the complaint's factual allegations as true,
and determine whether the plaintiff undoubtedly can prove no set of facts in support of the claims
that would entitle relief." Grindstaffv. Green, 133 F.3d 4l 6, 421 (6th Cir. 1998). A complaint need
not “anticipate every defense and accordingly need not plead every response to a potential defense."
Memphis. Tenn. Area Local. Am. Postal Workers Union v. Memr)his, 361 F.3d 898, 902 (6th Cir.
2004). The court‘s narrow inquiry on a motion to dismiss under Rule 12(b)(6) “is based upon
whether the claimant is entitled to offer evidence to support the claims, not whether the plaintiff can
ultimately prove the facts alleged." Osbome v. Bank ofAm., Nat'l Ass'n, 234 F. Supp. 2d 804, 807
(M.D. Tenn. 2002) (citations and internal quotations omitted).

F ederal Rule of Civil Procedure 56 states in pertinent part that a

. . . judgment . . . shall be rendered forthwith if the pleadings, depositions, answers

to interrogatories and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.

Fed. R. Civ. P. 56(c); §§_e Celotex Coi_'p. v_ Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552, 91

L.Ed.2d 265 (1986); Canderm Pharmacal Ltd. v. Elder Pharmaceuticals Inc., 862 F.2d 597, 601 (6th

 

Cir. 1988). In reviewing a motion for summary judgment, the evidence must be viewed in the light

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most favorable to the nonmoving party. Matsushita Elec. lndus. Co.q Ltd. v. Zenith Radio Corp., 475
U.S. 574, 587, 106 S.Ct. 1348, 1356, 89 L.Ed.2d 538 (1986). When the motion is supported by
documentary proof such as depositions and affidavits, the nonmoving party may not rest on his
pleadings but, rather, must present some "specific facts showing that there is a genuine issue for

trial." Celotex, 477 U.S. at 324, 106 S.Ct. at 2553. lt is not sufficient “simply [to] show that there

 

is some metaphysical doubt as to the material facts.” Matsushita Elec. lndus. Co., 475 U.S. at 586,
106 S.Ct. at 1356. These facts must be more than a scintilla of evidence and must meet the standard
of whether a reasonable juror could find by a preponderance of the evidence that the nonmoving
party is entitled to a verdict. Anderson v. Liberty Lobby. Inc., 477 U.S. 242, 252, 106 S.Ct. 2505,
2512, 91 L.Ed.2d 202 (1986). The “judge may not make credibility determinations or weigh the
evidence.” Adams v. Metiva, 31 F.3d 375, 379 (6th Cir. 1994).
ANALYSIS

l. Defendant White’s Motion to Dismiss

White argues that Bickford’s claim should be dismissed because private citizens generally
cannot be held liable under 42 U.S.C. § 1983. Additionally, Defendant contends that the complaint
fails to state a claim for relief, and even assuming it did, White enjoys qualified immunity from suit
because his actions were taken in good faith. Each of these arguments will be addressed in turn.

A. Lz`abili'ty ofPrivate ladi`viduals Under § 1983

Because Todd White is not employed by the state, he is a private citizen for purposes of
liability under § 1983. However, “{p]rivate persons may be held liable under § 1983 ifthey willfully
participate in joint action with state agents.” Memphis, Tennessee Area Local, 361 F.3d at 905

(citing Dennis v. Sparks, 449 U.S. 24, 27-28, 101 S.Ct. 183, 66 L.Ed.2d 185 (1980); United States

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v._Pric_e, 383 U.S. 787, 86 S.Ct. 1152, 16 L.Ed.2d 267 (1966); Hooks v. Hooks, 771 F.2d 935, 943
(6th Cir. 1985)). ln Moore v. City ofPaducah, 890 F.2d 831, 834 (6th Cir. 1989), the Sixth Circuit
held that persons who conspire with state officials to deprive individuals of their federally-protected
rights may be held liable pursuant to § 1983. Here, Plaintiff has alleged that White rode with Morris,
a state actor, to the residence where Spoon was located and presented himself as a law enforcement
officer while placing the child in the car. (Compl. at 3.) Viewing the complaint in the light most
favorable to the P]aintiff, the Court determines these allegations are sufficient to establish that White
conspired with a state official Thus, the Court concludes that White could be held liable under §
1983.

B. Whether the Complaim Staies a Clar`mfor Reliernder § 1983

Section 1983 imposes liability on any "person who, under color of any statute, ordinance,
regulation, custom or usage, of any State" subjects another to "the deprivation of any ri ghts,
privileges, or immunities secured by the Constitution or laws." 42 U.S.C. § 1983. A § 1983 plaintiff
must establish "(l) that there was the deprivation ofa right secured by the Constitution and (2) that
the deprivation was caused by a person acting under color of state law." Wittstock v. Mark A. Van
Sile, Inc., 330 F.3d 899, 902 (6th Cir. 2003). According to White, “[t]he complaint reveals no
specific factual allegations that would show or enable the Court to determine how the Defendant,
Todd White, acted under color of law, or how or in what manner he is alleged to have verbally and

physically assaulted the Plaintiff.”2 (Mem. Supp. Def.’s Mot. Dismiss at 5.) White makes two

 

2 White appears to be challenging the sufficiency of the complaint only with respect to
Plaintiff’s claim under the Fourth Amendment. In her complaint, however, Bickford also asserts
a violation of the Equal Protection Clause under the Fourteenth Amendment based on Spoon’s
biracial status l-Iowever, after reviewing the complaint, the Court concludes that it contains no
facts which could constitute a Equal Protection violation. The clause protects against

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separate argumentsl First, he asserts that there has been no action taken under color of state law as
required by § 1983, and second, he submits that the complaint fails to allege a constitutional
violation under the second requirement for a § 1983 claim. As the County’s primary argument in
support of its motion for summary judgment is that White and Morris’ conduct does not constitute
state action, the first part of White’s position will be addressed in conjunction with Lauderdale
County’s contentions

With respect to the merits of Bickford’s Fourth Amendment claim, the Court finds the
Defendant’s position unpersuasive At this juncture, the complaint must be viewed in a favorable
light to the Plaintiff. As well, Bickford’s allegations are to be taken as correct Rule l2(b)(6)
requires only a determination by the Court of whether the Plainti ff could present no facts to support
her claim for relief. E Grindstaff, 133 F.3d at 421 .

ln the complaint, Plaintiff has alleged that White accompanied Morris to Spoon’s residence
whereupon both Defendants placed Spoon in their vehicle and made racially threatening remarks

towards him. (E Compl. at 3-4.) Such conduct could be found violative of the Fourth

 

constitutionally unequal treatment based on race by a law enforcement officers independent of
the Fourth Amendment’s protection against unreasonable searches and seizures §ee
Cunningham v. Sisk, No. 03-6640, 2005 WL 1285649, at *3 (6th Cir. May 18, 2005). To prevail
on a claim of selective enforcement, a plaintiff must establish (l) an official singled out a person
belonging to an identifiable group, such as race or religion, while treating others differently who
are similarly situated but not part of the same group; (2) the officer enforced the law with a
discriminatory purpose; and (3) the singling out must have had a discriminatory effect on the
group to which the plaintiff belongs United States v. Anderson, 923 F.2d 45 0, 453 (6th Cir.
1991) (applying a three-part test to determine whether a person was subjected to selective
prosecution). As the complaint says nothing about the Defendants’ treatment of other similarly
situated individuals, it fails to satisfy the first element of a selective enforcement claim under the
Equal Protection Clause. &e_e Cunningham, No. 03-6640, 2005 WL 1285649, at *3 (finding that
the plaintiff had “proffered nothing to suggest that similarly situated people (speeders) of
different races were treated differently” and dismissing the claim). Thus, the Court _s_p__a sponte
DISMISSES Bickford’s Equal Protection cl.aim.

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Amendment. § Payton v. New York, 445 U.S. 573, 584, 100 S.Ct. 1371, 1379, 63 L.Ed.2d 639
(1980); Welsh_ v. Wisconsin, 466 U.S. 740, 749-50, 104 S.Ct. 2091, 2097~98, 80 L.Ed.2d 732
(1984). The Fourth Amendment, which applies to the states through incorporation bythe Fourteenth
Amendment, protects “the right of the people to be secure in their persons, houses, papers, and
effects, against unreasonable searches and seizures.” U.S. Const. amend. IV. These protections
apply equally to civil and criminal cases Daughenbaugh v. Citv of Tiffin, 150 F.3d 594, 598 (6th
Cir. 1998). Here, Bickford has presented specific facts describing how Spoon’s rights against
unreasonable seizure and excessive force were violated. Accordingly, based on the allegations
contained in the complaint, the Court concludes that Defendant’s Rule 12(b)(6) motion to dismiss
for failure to state a claim is not well taken

C. Whether White Enjoys Qualz`fied Immum'ty From Suc`t

Defendant insists that he is immune from § 1983 liability because he acted in good faith.
However, cases in this Circuit have determined that immunity is generally not available to private
individuals in a § 1983 action. ln Duncan v. Peck., 844 F.2d 1261, 1264 (6th Cir. 1988), the Sixth
Circuit considered a two-part test, established by the Supreme Court in City of Newport v. Facls

Concerts lnc., 453 U.S. 247, 258, 101 S.Ct. 2748, 2755, 69 L.Ed.2d 616 (1981), to determine

 

whether providing immunity is consistent with the intent of § 1983. “The first part [of the test]
requires the party claiming immunity to show that the immunity was recognized at common law
The second part requires a showing of strong public policy reasons for granting such an immunity.”
Duncan, 844 F.2d at 1264. The court concluded that there was no evidence that private parties were
immune from suit at common law and that the various rationales for good faith immunity were

inapplicable to private parties. § As a result, in Duncan, the court held that qualified immunity did

 

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not insulate from liability private citizens who violated the federal rights of others while resorting
to state garnishment or prejudgment attachment procedures in pursuing their own personal interests
Ld. at 1264-66.

The United States Supreme Court embraced the same position in Wyatt v. Cole, 504 U.S.
158, 168-69, 112 S.Ct. 1827, 1833-34, 118 L.Ed.2d 504 (1992), holding that private persons relying
on state garnishment or prejudgment attachment statutes later found to be unconstitutional are not
entitled to qualified immunity. The Court reasoned that the rationales in support of qualified
immunity for government acts were “not transferable to private parties” because “private parties hold
no office requiring them to exercise discretion; nor are they principally concerned with enhancing
the public good.” I_CL at 167-68, 1 12 S.Ct. at 1833-34. Thus, the Court concluded that “extending
[Harlow v. Fitzgerald, 457 U.S. 800, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982)] qualified immunity
to private parties would have no bearing on whether public officials are able to act forcefully and
decisively in their jobs” and “the public interest [would] not be unduly impaired if private
individuals are required to proceed to trial to resolve their legal disputes.” ld.

After _V\_/y_at_t, the SiXth Circuit reaffirmed its position in l\/chnight v. Rees, 88 F.3d 417, 419»
20 (6th Cir. 1996). Although altering its analysis by more thoroughly examining the nature ofthe
functions of a particular official and applying a more functional approach in considering the facts
of each case, the Sixth Circuit determined that correctional officers employed by pri vate corporations

in contract with the state were not entitled to qualified immunity l_d. at 420-21, 425; g al_so Vector

 

Research, Inc. v. Howard & Howard Attomevs P.C., 76 F.3d 692 (6th Cir. 1996) (finding that private

individuals enjoy no qualified immunity in a Bivens action).

 

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Under the facts alleged in the complaint, White was accompanying a juvenile-court official
in their interaction with Spoon. (Compl. at 3.) The Court finds that White’s behavior toward
Spoon"as a type of retaliation on behalf of his wife¢was not the type of action which any public
policy underpinning qualified immunity wouldjustify. w l\/lcl\light, 88 F.3d at 420-21 (“we . . .
[must] determine whether strong public policy reasons support the recognition of qualified immunity
in particular cases”). The Defendant has not cited to any cases which suggest that a public policy
would be promoted in allowing qualified immunity to shield liability for the acts in this case. The
Defendant has the burden of establishing that the Plainti ff has failed to state a claim for relief. &§

Finch v. Hercules lnc., 809 F. Supp. 309, 310 (D. Del. 1992). Accordingly, viewing the complaint

 

in the light most favorable to the Plaintiff, the Court concludes that White is not entitled to qualified
immunity.

Nevertheless, the Court’s ruling does not affect Defendant’s right to assert a good faith
defense which is unlike good faith immunity. ln _IM, the court clarified the difference in stating
that

[w]e believe that the courts who endorsed the concept of good faith immunity for
private individuals improperly confused good faith immunity with a good faith
defense Good faith immunity is designed to protect defendants from the difficulties
of defending a suit by dismissing the case before the parties have engaged in costly
and time consuming discovery. Since it is based on an objective standard, the issue
can often be decided on the pleadings A good faith defense, on the other hand, is
likely to be based in large part on the facts of the case, with the suit only being
dismissed after trial, or on summary judgment if the defendant can show that there
is no material dispute as to the facts.

Duncan, 844 F.2d at 1266 (footnotes omitted). Thus, although the Court holds that White is not
entitled to immunity, he remains free to assert a defense of good faith which must be considered by

the jury.

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ll. Defendant Lauderdale Countv’s l\/lotion for Summary Judgment

Lauderdale County asserts that Defendant Morris did not act under color of state law, and
therefore, Plainti ff cannot satisfy that requirement for a suit under § 1983.3 Defendant points to the
fact that at the time of the incident, Morris was off-duty and riot authorized to detain, question, or
talk to Spoon. ln doing so, Morris went beyond the scope of his employment and authority (Def.
Lauderdale County’s Mem. Law Supp. lts Mot. Summ. J. (“County’s Mem.”) at 6.)

ln Monroe v. Pape, 365 U.S. 167, 184-85, 81 S.Ct. 473, 482-83, 5 L.Ed.2d 492 (1961),
overruled on other grounds by, Monell v. Dept. ofSocial Services, 436 U.S. 658, 98 S.Ct. 2018, 56
L.Ed.2d 611 (1978), the Supreme Court held that “[m]isuse of power, possessed by virtue of state
law and made possible only because the wrongdoer is clothed with the authority of state law, is
action taken ‘under color of’ state law.” fn Parks v. Citv of Columbus, 395 F.3d 643, 654 (6th Cir.
2005), the City of Columbus argued that there was no state action because the officer was off-duty
and acting under the directive of others The Sixth Circuit found the city’s arguments inconsistent
with applicable law, stating that “regardless of whether Officer Farr was on or off duty, he presented
himself as a police officer. We have held that ‘a police officer acts under color of state law when he
purports to exercise official authority.”’ g (quoting Memphis, Tennessee Area Local, 361 F.3d at
904). “lt is the nature of the act performed, not the clothing of the actor or even the status of being
on-duty, or off-duty, which determines whether the officer has acted under color of law.” §te_nge_l

v. Belcher, 522 F.2d 438, 441 (6th Cir. 2001). Manifestations of official authority include “flashing

 

3 The County additionally argued that it could not be held liable for any injuries caused by
the school because the Lauderdale County School System is a separate legal entity from
Lauderdale County. ln her response, the Plaintiff conceded this fact. (E Resp. Mem. Supp.
Resp. Def. Lauderdale County’s Mot. Summ. J. (“Pl.’s Resp.”) at 2.)

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a badge, identifying oneself as a police officer, placing an individual under arrest, or intervening in
a dispute between third parties pursuant to a duty imposed by police department regulations.”
Memr)his, Tennessee Area Local, 361 F.3d at 904 (citing Layne v. Sampley, 6277 F.2d 12, 13 (6th
Cir. 1980)).

ln the present case, Lauderdale County stated in its motion that part of Morris’
responsibilities included jailing any defendant as ordered by a judge and transporting juveniles
whenever necessary (County’s Statement at 2.) According to the Plaintiff, Morris, accompanied
by White, went to Plaintiff" s location and presented themselves as a law enforcement officers, taking
Spoon into custody and placing him in a car.4 (Compl. at 3.) The Court concludes that the nature
of the Defendants’ alleged conduct is sufficient to constitute action taken under color of state law
for purposes of § 1983. E Mge_l, 522 F.2d at 441. Moreover, the actions need not be authorized
by Lauderdale County in order to be considered under color of state law. w Mo_e, 365 U.S. at
184-85, 81 S.Ct. at 482-83. Like the court in P_ar§, this Court determines that the conduct ofl\/lorris
was sufficient to constitute state action. w M, 395 F.3d at 654 (finding the defendant acted
under color of state law when he identified himself as a police officer even though he was off-duty
at the time). Because the Court has determined that Morris acted under color of state law and that
the complaint sufficiently alleged that White conspired with Morris, the Court concludes that White

also acted under color of state law, satisfying the second requirement of a § 1983 claim. Thus,

 

4 ln his answer, Morris states that at the time of this incident, he was acting as an officer
of the Lauderdale County Juvenile Court and was carrying out the duties of his office in
investigating the alleged assault by Spoon. See Answer Phillip Morris 1111 8, 13, 16, and 24.)

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Lauderdale County’s motion for summary judgment and Morris’ motion to dismiss are DENIED.5
CONCLUSION
For the reasons articulated herein, White’s motion to dismiss and Lauderdale County’s
motion for summary judgment are DENIED. Additionally, the Court DISMISSES John Does 1-10
and Plaintiff’s Equal Protection claim under the Fourteenth Amendment.

lT IS SO ORDERED this l § day of June, 2005.

dean

J. lEL BREEN
lT D STATES DlSTRlCT JUDGE

 

5 The Court notes that a municipality may not be held liable solely on the basis of
respondeat superior _Sie Leatherman v. Tarrant County Narcotics lntelligence and Coordinatioii
Qi_it, 507 U.S, 163,166, 113 S.Ct. 1160, 1162, 122 L.Ed.2d 517 (1993). lnstead, “a plaintiff
seeking to impose liability on a municipality under § 1983 [must] identify a municipal ‘policy’ or
‘custom’ that caused the plaintiffs injury.” Bd. of Countv Comm’rs of Brvan County, Okla. v.
Brown, 520 U.S. 397, 403, 117 S.Ct. 1382, 1388, 137 L.Ed.2d 626 (1997) (citing Monell, 436
U.S. at 694, 98 S.Ct. at 2027). lnasmuch as the County did not raise or brief the issue of whether

it had a policy or custom which caused Plaintiff’s injuries, the Court must reserve ruling on that
question.

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Notice of Distribution

EsSEE

This notice confirms a copy of the document docketed as number 43 in
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WA]DE & ASSOCIATES, P.A.

P.O. Box 1357
Tupelo, l\/lS 38802

Charles M. Purcell
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jackson, TN 38302--072

.l. Barney Witherington

LAW OFFICE OF .l. BARNEY WITHERINGTON IV

P.O. Box 922
Covington, TN 38019

.l. Thomas Caldwell

CALDWELL & FITZHUGH

1 14 .lefferson Street
Ripley7 TN 38063

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & l\/llTCHELL

40 S. Main St.
Ste. 2900
l\/lemphis7 TN 38103--552

David l\/lichael Dunavant

CARNEY WILDER & DUNAVANT

Bank of Ripley Building
Ripley7 TN 38063

.lennifer Craig
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jackson, TN 38302--072

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Michael W. Whitaker
WH[TAKER LAW FIRM
7054 Highway 64
Oakland, TN 38060

Michael E. Keeney

THOMASON HENDRIX HARVEY JOHNSON & l\/HTCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

Honorable .l. Breen
US DISTRICT COURT

